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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
SYRACUSE DIVISION
_______________________________________

JAMES DEFERIO,

             Plaintiff,

vs.                                            Civil Action No: 5:16-cv-0361 (LEK-TWD)

CITY       OF     SYRACUSE;         FRANK
FOWLER, in his official capacity as Chief of
Police for City of Syracuse Police             REPLY IN SUPPORT OF PLAINTIFF’S
Department,       JOSEPH         SWEENY,        MOTION FOR ATTORNEY’S FEES
individually and in his official capacity as     AND NONTAXABLE EXPENSES
Captain for the City of Syracuse Police
Department, and JAMEY LOCASTRO,
individually and in his official capacity as
Sergeant for the City of Syracuse Police
Department,

            Defendants.
_____________________________________
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                                         ARGUMENT

       Opposing Deferio’s Motion, Defendants claim Deferio is not entitled to fees despite his

prevailing party status, lodge unsubstantiated challenges to his requested hourly rates and hours,

and dispute his request for nontaxable expenses. None of these objections have merit. Deferio is

entitled to reasonable attorney’s fees and expenses in the updated amount of $194,001.89 (2nd

Declaration of Nate Kellum, attached as Ex. “G” and Supplemental Time Statement, as Ex. “H”).

I.   DEFERIO IS ENTITLED TO FEES

       A plaintiff is entitled to reasonable attorney’s fees under § 1988 for securing at least

“some of the benefit” sought in the suit. Farrar v. Hobby, 506 U.S. 103, 109 (1992). Fees do

not depend on an award of compensatory damages.           Indeed, § 1988 is intended to award

reasonable fees when claims involve non-pecuniary rights. City of Riverside v. Rivera, 477 U.S.

561, 575-77 (1986). The lodestar is the presumed reasonable as long as party prevails on these

rights. Bergerson v. N.Y. State Office of Mental Health, 652 F.3d 277, 289 (2d Cir. 2011).

       Although Deferio is a prevailing party entitled to reasonable attorney fees (Doc. 128, p.

41), Defendants want to deny him all fees, claiming nominal damages are not meaningful relief.

This argument is misguided; nominal damages are ample basis for fees under § 1988. A small

financial award does not make a victory de minimus unless it is “a purely technical victory in an

otherwise frivolous suit.” Millea v. Metro-N. R. Co., 658 F.3d 154, 168 (2d Cir. 2011). The

denial of attorney fees for nominal damage award is only justified when “plaintiff [] seeks

compensatory damages but receives no more than nominal damages.” Farrar, 506 U.S. at 115.

       Here, Deferio did not seek compensatory damages, just the nominal damages he was

awarded. Thus, the factors Defendants invoke – a “significant” legal issue and achieving a

“public goal” – are not pertinent factors. See Alvarez v. City of New York, 2017 WL 6033425, at

*4 (S.D.N.Y. Dec. 5, 2017) (distinguishing case where only damages sought were nominal). The


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critical inquiry is the “degree of success obtained,” Hensley v. Eckerhart, 461 U.S. 424, 436

(1983), comparing what Deferio sought with what he received. Against the two officers – to

which he prevailed against and seeks fees – Deferio sought $1.00 in nominal damages and this

Court awarded him this precise relief. (Compare Doc. 1 [Verified Complaint], pp. 18-20 with

Doc. 128, p. 44). 1 This is not a situation where relief is so de minimus that something more must

be shown to justify the lodestar. Deferio obtained his sought-after and meaningful relief in full.

        Defendants also mistakenly assert that the lack of injunctive relief against the City

renders Deferio’s victory de minimus. Of course, Deferio does not seek fees against the City in

this petition. 2     Moreover, Deferio has obtained the practical effect of such relief. This Court

held Defendants violated Deferio’s rights, determining that this disposition prevents these

wrongs from occurring again. (Doc. 128, pp. 42-43). 3 Thus, Deferio has effectively secured the

protection he wanted in seeking injunctive and declaratory relief in the first place. (Doc. 1, p.

19). When a prevailing plaintiff obtains practical relief, it matters little that it is not in the form

envisioned.        See Husain v. Springer, 579 F.App'x 3, 5 (2d Cir. 2014) (lack of requested

injunctive relief did not warrant elimination of fees because defendants’ voluntary change in

1
  Contrary to Defendants’ curious assertion, the decision to not seek compensatory damages in
this action does not amount to a “waiver.” Waiver is when a plaintiff initially seeks relief, but
later abandons it. Caruso v. Forslund, 47 F.3d 27, 30 (2d Cir. 1995). Deferio never sought
compensatory damages in this case because a plaintiff cannot legally receive them for purely
constitutional injuries. See Carey v. Piphus, 435 U.S. 247, 266 (1978).
2
  Deferio is only seeking attorney fees from the parties he prevailed against, namely, the two
officers. Injunctive relief was not available against them. Deferio sought and received the
maximum possible relief he could secure against the two officers: $1.00 in nominal damages.
See City of Riverside, 477 U.S. at 575 (small-ticket damages are significant as a deterrent to
officers because injunctive relief is unavailable). In his petition, Deferio has voluntarily
eliminated all time spent in pursuing liability against City and injunctive relief. (Ex. A, ¶ 25).
He only seeks fees for time and expenses where he has prevailed against the officers.
3
  Deferio did not pursue a Due Process claim against the officers. That claim dealt specifically
with the vagueness of “policies and practices,” pertaining specifically to City actions. (Doc. 1, p.
18). Any time associated with Due Process relate to the City and has already been deducted
from the fee petition.


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response to litigation achieved same “practical effect”). Plainly, Deferio’s relief was far from de

minimus. He achieved all of his goals in bringing suit.

         Even if the other factors that Defendants posit are considered, Deferio satisfies them,

obtaining a victory on a significant legal issue in advancing a laudable public goal. This case

concerned censorship of speech on a public sidewalk outside of a public event because the

permit-holder disliked the content. Prevailing on this issue, Deferio sent a strong warning to

government officials that such actions are not tolerated under the First Amendment. The free

speech rights of countless others will now be respected when speaking near free and open public

events within the city. See City of Riverside, 477 U.S. at 574-75 (nominal damages serve public

purpose warranting fees because they deter future police misconduct even absent an injunction).

         Deferio has secured meaningful relief, entitling him to a full lodestar award.

II.    LODESTAR REPRESENTS REASONABLE FEE

         Defendants quibble with Deferio’s rates and hours, offering various petty reasons for

denying Deferio a reasonable fee in this case, all while declining to provide this Court with any

idea of what Defendants believe a reasonable fee would be under the circumstances.

      A. Requested Hourly Rates are Reasonable

         Reasonable hourly rates are those current prevailing rates for attorneys with similar

experience in similar cases in this district. Farbotko v. Clinton Cnty. of New York, 433 F.3d 204,

208 (2d Cir. 2005).       This valuation is established through evidence, like affidavits and

declarations, as well as data, and case law. Dague v. City of Burlington, 976 F.2d 801, 804 (2d

Cir. 1991). Deferio supplies more than adequate evidence of his sought-after hourly rates ($350

for Kellum, $175 for Mangini, and $225 for Genant), substantiating them with detailed attorney

declarations and recent case law showing the rates are reasonable. (See Exs. A, B, E, and F).

         Defendants baldly dispute these hourly rates without the benefit of any countervailing


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evidence or case law supporting them. Marcelle’s extensive experience in litigating cases in this

district, including many civil rights claims, illustrates his thorough knowledge of prevailing

rates. (Ex. F, ¶¶ 4-12). Defendants give this Court no reason to ignore the insightful testimony.

       Defendants rely exclusively on case law that is either outdated or concerns a field of

practice different from the case at bar. The rates they borrow from Lore v. City of Syracuse are

dated. 670 F.3d 127 (2d Cir. 2012). Defendants assert these rates remain valid because this

Court considered them last year in Azzara v. Natl. Credit Adjusters, LLC, but Defendants

overlook that Azzara held the rates in Lore reflected reasonable hourly rates for a

“straightforward” FDCPA case, not civil rights litigation. Azzara, 2017 WL 2628875, at *4

(N.D.N.Y. June 19, 2017); accord Stevens v. EOS CCA, 2017 WL 1423242, at *3 (N.D.N.Y.

April 21, 2017). 4 Nor does Hines v. City of Albany truly insist on Lore rates in civil rights cases.

2016 WL 7166103, at *1 (N.D.N.Y. 2016). Earlier in that same case, in 2015, the Court held

$300/hour, a rate higher than the highest rate in Lore, reasonable. Hines, 2015 WL 12828107, at

*3 (N.D.N.Y. May 13, 2015). This understanding gibes with the more relevant case of Pope v.

Cnty. of Albany, which recognized that by 2015, reasonable hourly rates in civil rights cases in

this district had increased up to $350/hour for experienced counsel, and $200/hour for associates

with more than 3 years’ experience. 2015 WL 5510944, at *10-*11 (N.D.N.Y. Sept. 16, 2015). 5

       Neither is Defendants’ proposed rate slash for attorney Genant warranted on the basis

that his work on the case “did not require [his] level of expertise.” (Doc. 147-10, p. 14). Genant

4
  Even if rates from non-civil rights cases are considered, Defendants’ own cases confirm that
rates of up to $345/hour were appropriate as of 2015. See H & R Block Tax Servs., LLC v.
Strauss, 2015 WL 4094649, at *10 (N.D.N.Y. July 7, 2015) (awarding $345/hour); Berkshire
Bank v. Tedeschi, No. 1:11-CV-0767 LEK, 2015 WL 235848, at *3 (N.D.N.Y. Jan. 16, 2015).
5
  Though Defendants’ suggest otherwise (Doc. 147-10, p. 12), Deferio is not seeking out-of-
district rates. The $350/hour rate awarded in Pope was not an out-of-district rate. Pope, 2015
WL 5510944, at *9-*11. Deferio’s requested hourly rates are directly in line with updated data
in the Northern District of New York.


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normally charges $225/hour for his services, and his work in this case necessarily required him

to sacrifice time from his normal practice to do so. (Ex. E, ¶¶ 5-9). See Marks v. U.S. Sec.

Assocs., Inc., 2010 WL 11469929, at *3 (N.D. Ala. Sept. 28, 2010) (declining to penalize

partner-level counsel by reducing fees for time spent performing “associate-level tasks” when he

ran an almost solo practice). The requested hourly rates are reasonable for civil rights litigation

in this district.

    B. Requested Hours are Reasonable

        Defendants challenge Deferio’s hours on misplaced grounds. Showing the exercise of

billing judgment, Deferio is entitled to the hours he seeks in his petition.

             1. Entries are Not Vague

        Defendants allege that many of Deferio’s entries are too vague, but they fail to back up

this charge. Counsel need not record time entries in excruciating detail; records need only be

specific enough for the court to assess the reasonableness of the work performed. Douyon v. NY

Med. Health Care, P.C., 49 F.Supp.3d 328, 349 (E.D.N.Y. 2014). So, while entries like “review

of documents” could be vague, Dotson v. City of Syracuse, 2011 WL 817499, at *24 (N.D.N.Y.

Mar. 2, 2011), an entry stating “Preparing Reply in further support of Plaintiff's Motion for

Summary Judgment” is not. 49 F.Supp.3d at 349. Deferio’s time entries are like the latter.

        Defendants’ challenges to tasks like “Draft Affidavit of Jim Deferio,” “Review local

rules re: motions,” and “Review Order re: Case Management Plan,” (Doc. 147-1 [Time statement

with “vagueness” highlighting], pp. 2, 4, 5) are baseless, since the import of the work is self-

evident from the entries. They cite no case requiring greater specificity and it is difficult to

imagine how the entries could be any more specific. Perhaps, a handful of entries could stand

more detail, but even those are sufficiently clarified by context. Vacco, 135 F.Supp.2d at 364.




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For example, the entry “Prepare for status conference” that Defendants criticize as supposedly

vague is followed by entry showing participation in a Rule 16 status conference, making clear

the purpose for the preparation. (Doc. 147-1, pp. 10-11). See Lenihan v. City of New York, 640

F.Supp. 822, 826 (S.D.N.Y. 1986) (holding “general preparation” followed by entry the next day

for a preliminary injunction hearing not unduly vague). No more specificity is needed. 6

           2. Claimed Hours are Not Excessive

       Defendants also allege Deferio’s time on certain tasks is excessive, without providing any

evidence in support, or even suggesting what time would be reasonable for the tasks. Tellingly,

they do not provide their own time statements or any other baseline for comparison. Nor do they

advance a particular percentage decrease yielding what they propose as a reasonable number of

hours. (Doc. 147-10, p. 22). 7 Instead, Defendants posit that the work should have taken some

unspecified lower amount of time due to attorney Kellum’s past experience in cases with

purportedly “identical legal issues,” noting “similarities” in select portions of documents. (Doc.

147-10, p. 17). As an evenhanded review reveals, the legal issues in each case are actually

distinct, dealing with 1) a ban on speech audible 25 feet away on a public commons (Doc. 147-3

[Deferio v. City of Ithaca MPI Memo], pp. 9-14), 2) a prior restraint on expression on a

university campus (Doc. 147-6 [Deferio v. SUNY MPI Memo], pp. 7-21), and 3) banishing a

speaker from public sidewalks due to the hostility of a festival permit holder (Doc. 6-15 [MPI

Memo in present case], pp. 12-21). Even the vague similarities Defendants point to (e..g.,

6
  Defendants also needlessly challenge time entries for which Deferio is not even seeking
compensation, like “Research court reporters” and “Arrange for Syracuse deposition trip.” (Doc.
147-1, p. 23).
7
  Defendants also consistently exaggerate the time that counsel spent on particular tasks. (See
Doc. 147-10, pp. 17-18). The time statements show a total of 5.8 hours preparing Deferio’s first
affidavit (not 8.1), 42.5 hours preparing the Motion for Preliminary Injunction and
accompanying Memorandum (not 44.9), and 132 hours on “summary judgment motion practice,”
construed liberally (not 138.8).


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formalistic matters like jurisdiction, see Doc. 147-2 [Deferio v. City of Ithaca Complaint], ¶¶ 6-

9; Doc. 147-5 [Deferio v. SUNY Complaint], ¶¶ 6-7; Doc. 1, ¶¶ 6-8) contain differences,

demonstrating counsels’ fresh assessment of this case. See Merrick v. Scott, 2011 WL 1938188,

at *7 (N.D. Tex. May 20, 2011) (time spent on familiar formalistic matters is compensable

because attorney must use legal judgment to ensure similarities are appropriate in given case).

And, critically, Defendants have not shown that prior experience should have caused counsel to

put in any less hours in this particular case.

        Neither is the time counsel spent on conferencing excessive. Each conference was

necessary, helping coordinate efforts and divide tasks between lawyers. (Ex. A, ¶ 22). This is

unlike cases where hundreds of hours were spent conferencing to get a host of attorneys up to

speed. See, e.g., Rozell v. Ross-Holst, 576 F.Supp.2d 527, 541 (S.D.N.Y. 2008) (six attorneys

billing for over 363 hours of conferencing). Nor have Defendants shown that billing at the

lowest billing unit for reviewing notices from this Court is excessive. 8 Defendants cannot expect

counsel to ignore notifications from the Court. The requested hours are not excessive. 9

            3. Claimed Hours are Not Duplicative

        Neither is there any support for Defendants’ contention that time is duplicative because a

task “could be performed by one attorney.” (Doc. 147-10, p. 18). Duplication is a concern when



8
  Two of the “review notice” entries are not actual court notices, but “notice[s] to produce,” i.e.,
discovery documents Defendants sent to counsel. (Doc. 147-8 [Time statement with
“excessive/duplicative” highlighting], p. 33). An accurate calculation shows counsel spent a
composite of 8.9 hours reviewing ECF notices during this two-year litigation. Billing at tenth-
hour increments for reading these notices from the Court is reasonable. See New York State
Teamsters Conference Pension & Ret. Fund v. United Parcel Serv., Inc., 2004 WL 437474, at *6
(N.D.N.Y. Feb. 27, 2004) (approving quarter-hour billing even though tenth-hour billing is
preferred).
9
   Further, Defendants shamefully launch an ad hominem attack on Kellum personally,
contending any request from him must be excessive. The unfounded insults have no relevance
here. This Court is to determine the reasonableness of hours in this case, not some other case.


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more attorneys than necessary work on a task, given the scope and complexity of the case. See

New York State Ass'n for Retarded Children, Inc. v. Carey, 711 F.2d 1136, 1146 (2d Cir. 1983).

See, e.g., cases cited in Doc. 147-10, p. 20 (ranging between 4 to 16 attorneys plus support staff

duplicative). Here, attorneys Kellum and Mangini intentionally divided the tasks to ensure no

duplication of effort, with Kellum delegating distinct sub-tasks to Mangini to save time and

costs. (Ex. A, ¶ 22.). See Negron v. Ulster Cnty., 2013 WL 1181570, at *6 (N.D.N.Y. Mar. 20,

2013) (calling such delegation “a prudent decision.”). Notably, Deferio’s counsel sent only one

attorney to every single court appearance, deposition, and telephone conference, while

Defendants, on the other hand, invariably had at least two attorneys at each appearance. (Ex. A,

¶ 22). Defendants can hardly be heard to argue that Deferio overstaffed this case to the point of

duplicating efforts, when Deferio was far more conscientious in this regard.

           4. Claimed Hours Do Not Relate to Clerical or Paralegal Work

       Defendants falsely allege the certain entries are clerical or paralegal. Tasks that require

an attorney’s legal judgment are not clerical and are fully compensable. LV v. New York City

Dep't of Educ., 700 F.Supp.2d 510, 522 (S.D.N.Y. 2010). This includes settlement negotiations,

evaluation of needed evidence, and the drafting of legal documents. See Tuf Racing Prod., Inc.

v. Am. Suzuki Motor Corp., 1999 WL 669226, at *4 (N.D. Ill. Aug. 27, 1999). Defendants

challenge tasks that are appropriate for attorneys, falling particularly within their purview, like

editing affidavits, editing discovery responses, editing an opposition to a letter motion, and

advising a client about discovery.      (Doc. 147-9 [Time statement with “clerical/paralegal”

highlighting], pp. 4, 17, 21, 22). The requested hours are not clerical or paralegal.

           5. Degree of Success Does Not Warrant Any Further Reduction

       No further reduction is warranted for the degree of success obtained. Where a failure to




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 receive relief can be parsed out from the successful claim, only hours unrelated to the success

 should be excluded. Hensley, 461 U.S. at 434-36. Deferio’s claims rest on a common core –

 that officers’ actions in removing him from a public sidewalk due to the hostility of a permit-

 holder violated his rights. Deferio fully prevailed on this claim, receiving the full nominal

 damages he requested. (Doc. 128, pp. 14-31, 44). The only lack of success was whether the City

 could be held responsible for the officers’ actions and enjoined. (Id. at 44). Deferio has already

 accounted for this lack of success, eliminating hours spent pursuing Monell arguments and

 injunctive and declaratory relief. (Ex. A, ¶ 25). No further reduction is required. 10

III.   REQUESTED NONTAXABLE EXPENSES ARE REASONABLE

         Defendants also ask this Court to deny all nontaxable expenses because the petition

 specified expenses without providing receipts. In reality, case law does not demand production

 of receipts for recovering expenses. See Dotson, 2011 WL 817499, at *32-*33 (awarding

 expenses despite failure to produce receipts). A court requires itemization sufficient enough to

 determine the necessity and reasonableness of expenses sought. See U.S. for Use & Benefit of

 Evergreen Pipeline Const. Co. v. Merritt Meridian Const. Corp., 95 F.3d 153, 173 (2d Cir.

 1996); Dotson, 2011 WL 817499, at *33 (noting that lack of documentation is not problematic if


 10
    Defendants’ arguments aside, the Johnson factors further confirm application of the lodestar.
 Until this case, the heckler’s veto doctrine in the public festival context had not been considered
 in this circuit, demonstrating its novelty. This litigation prevented counsel from filing more than
 6 cases per year, establishing preclusion of other work. (Ex. A, ¶¶ 11-12). Burford v. Cargill,
 Inc., No. CIV.A. 05-0283, 2012 WL 5471985, at *3 (W.D. La. Nov. 8, 2012) (preclusion means
 time spent on case at bar prevents counsel spending it on other cases). Counsels’ agreement to
 take this case with fee-shifting as the only hope of recovery establishes its contingent nature.
 Quesenberry v. Volvo Grp. N. Am., Inc., 2010 WL 2836201, at *9 (W.D. Va. July 20, 2010).
 This economic risk made the case undesirable for obvious reasons. Price v. New York State Bd.
 of Elections, 2009 WL 4730698, at *4 (N.D.N.Y. Dec. 4, 2009). And finally, the final fee award
 in Deferio v. SUNY reflects that that case settled a few months after the preliminary injunction
 hearing, see Deferio v. Bd. of Tr. of State Univ. of New York [Deferio v. SUNY], 2014 WL
 295842, at *1-*2 (N.D.N.Y. Jan. 27, 2014), whereas this case went through a year of discovery
 and cross-motions for summary judgment. The comparison is not apt.


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expenses appear reasonable) (citation omitted). Deferio met this requirement through a time

statement itemizing the expenses along with Kellum’s declaration verifying accuracy and

necessity. (Ex. A, ¶ 28; Ex. C, pp. 67-68). However, in an effort to allay any possible concerns,

copies of receipts are attached. ( as Ex. “I”). See Chauca v. Park Mgmt. Sys., LLC, 2016 WL

8117953, at *6 (E.D.N.Y. July 18, 2016) (accepting receipts filed after briefing).

       There is likewise no merit to Defendants’ claim that Deferio is not entitled to Westlaw

expenses. In the context of a fee-shifting statute, online computer research is recoverable as part

of an award of attorney’s fees and expenses. Arbor Hill Concerned Citizens Neighborhood Ass'n

v. Cnty. of Albany, 369 F.3d 91, 98 (2d Cir. 2004); accord Trustees of the Plumbers &

Steamfitters Local 267 Pension Fund, Annuity Fund, Ins. Fund & Joint Apprenticeship &

Training Fund v. ICT Mech. Servs., Inc., No. 5:09-CV-481, 2013 WL 954574, at *5 (N.D.N.Y.

Mar. 12, 2013) (“Plaintiffs are also entitled to recover…computer research costs”).

                                        CONCLUSION

       For the reasons set forth herein, and in his Initial Memorandum, Deferio respectfully

requests this Court grant his Motion for Attorney’s Fees and Nontaxable Expenses in the up-to-

date amount of $194.001.89.

       Respectfully submitted this 2nd day of May, 2018.

s/Nathan W. Kellum
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2018, the foregoing was filed electronically with the Clerk

of the Court by using the CM/ECF system, and that notice of this filing will be sent

electronically to all counsel of record by operation of the Court’s CM/ECF system.

                                            s/Nathan W. Kellum
                                              Attorney for Plaintiff




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